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                               Exhibit A
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                                                                           Exhibit A
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ALCHEMY CAPITAL PARTNERS LP             C/O HOGAN LOVELLS US LLP     JOHN D. BECK                     390 MADISON AVENUE   NEW YORK   NY   10017
ALEX MASHINSKY                                                       ON FILE
BITS OF SUNSHINE LLC                                                 ON FILE
FOUR THIRTEEN LLC                                                    ON FILE
                                                                     ATTN: DANIEL FLIMAN, AVI
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HANOCH GOLDSTEIN                                                     ON FILE
HARUMI URATA-THOMPSON                                                ON FILE
HARUMI URATA-THOMPSON                                                ON FILE
JOHANNES TREUTLER                                                    ON FILE
JOHANNES TREUTLER                                                    ON FILE
KOALA 1 LLC                                                          850 NEW BURTON ROAD SUITE 201                         DOVER      DE      19904
KOALA 2 LLC                                                          850 NEW BURTON ROAD SUITE 201                         DOVER      DE      19904
KOALA 3 LLC                                                          NEW BURTON ROAD                                       DOVER      DE      19904
RONI COHEN PAVON                                                     ON FILE




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                                Exhibit B
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                                                                    Exhibit B
                                                              Served via Electronic Mail
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HANOCH "NUKE" GOLDSTEIN                                                                            ON FILE
HANOCH GOLDSTEIN                                                                                   ON FILE
HARUMI URATA-THOMPSON                                                                              ON FILE
JOHANNES TREUTLER                                                                                  ON FILE
KOALA 1 LLC                                                                                        ON FILE
KOALA 2 LLC                                                                                        ON FILE
KOALA 3 LLC                                                                                        ON FILE
RONI COHEN PAVON                                                                                   ON FILE




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